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                                                            Sep 24, 2024

                                                                       Miami
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                                              COUNT2
                     Possessing a Firearm In Furtherance of a Crime of Violence
                                     (18 U.S.C. § 924(c)(l)(A)(ii))

        On or about September 15, 2024, in Palm Beach County, in the Southern District of Florida, and

elsewhere, the defendant,

                                      RYAN WESLEY ROUTH,

did knowingly possess a firearm in furtherance of a crime of violence, that is, a violation of Title 18,

United States Code, Section 351(c), as set forth in Count 1 of this Indictment, for which the defendant

may be prosecuted in a court of the United States, in violation of Title 18, United States Code, Section

924(c)(l)(A).

       Pursuant to Title 18, United States Code, Section 924(c)(l)(A)(ii), it is further alleged that the

firearm was brandished.

                                               COUNT3
                                      Assaulting a Federal Officer
                                    (18 U.S.C. §§ lll(a)(l) and (b))

       On or about September 15, 2024, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                      RYAN WESLEY ROU,TH,

did forcibly assault, oppose, impede, intimidate, and interfere with "Secret Service Special Agent #1,"

an officer and employee of the United States, and of an agency in any branch of the United States

Government, as designated in Title 18, United States Code, Section 1114, that is, the United States Secret

Service, while Secret Service Special Agent #1 was engaged in, and on account of, the performance of

his official duties, with the intent to commit another felony, in violation of Title 18, United States Code,

Section 111(a)(1).
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       Pursuant to Title 18, United States Code, Section 111(b), it is further alleged that the defendant

used a deadly and dangerous weapon.

                                              COUNT4
                          Felon in Possession of a Firearm and Ammunition
                                        (18 U.S.C. § 922(g)(l))

        On or about September 15, 2024, in Palm Beach County, in the Southern District of Florida, and

elsewhere, the defendant,,

                                      RYAN WESLEY ROUTH,

did knowingly possess a firearm and ammunition in and affecting interstate and foreign commerce,

knowing that he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, in violation of Title 18, United States Code, Section 922(g)(l).

                                             COUNTS
                     Possession of a Firearm with an Obliterated Serial Number
                                         (18 U.S.C. § 922(k))

       On or about September 15, 2024, in Palm Beach County, in the Southern District of Florida, and

elsewhere, the defendant,

                                      RYAN WESLEY ROUTH,

did knowingly possess a firearm, which has had the importer's and manufacturer's serial number

removed, obliterated, and altered, and had, at any time, been shipped and transported in interstate and

foreign commerce, in violation of Title 18, United States Code, Section 922(k).

                                   FORFEITURE ALLEGATIONS

       1.      The allegations of this Indictment are hereby re-alleged and by this reference fully

incorporated herein for the purpose of alleging forfeiture to the United States of certain property in which

the defendant, RYAN WESLEY ROUTH, has an interest.

       2.      Upon conviction of a violation of Title 18, United States Code, Section 351, as alleged in
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this Indictment, the defendant shall forfeit to the United States (a) any property, real or personal, which

constitutes or is derived from proceeds traceable to such offense, pursuant to Title 18, United States

Code, Section 981(a)(l)(C), and (b) all assets, foreign or domestic:

              1.       of any individual, entity, or organization engaged in planning or perpetrating any

       Federal crime of terrorism (as defined in Section 2332b(g)(5)) against the United States, citizens

       . or residents of the United States, or their property, and all assets, foreign or domestic, affording

       any person a source of influence over any such entity or organization;

             11.       acquired or maintained by any person with the intent and for the purpose of

       supporting, planning, conducting, or concealing any Federal crime of terrorism (as defined in

       Section 2332b(g)(5)) against the United States, citizens or residents of the United States, or their

       property;

            m.         derived from, involved in, or used or intended to be used to commit any Federal

       crime of terrorism (as defined in Section 2332b(g)(5)) against the United States, citizens or

       residents of the United States, or their property; or

            iv.        of any individual, entity, or organization engaged in planning or perpetrating any

       act of international terrorism (as defined in Section 2331) against any international organization

       (as defined in Section 209 of the State Department Basic Authorities Act of 1956 (22 U.S.C.

       § 4309(b)) or against any foreign Government,

pursuant to Title 18, United States Code, Section 98l(a)(l)(G).

       3.      Upon conviction of a violation of Title 18, United States Code, Sections 922 or 924, or

any other criminal law of the United States, as alleged in this Indictment, the defendant shall forfeit to

the United States any firearm and ammunition involved in or used in the commission of such offense,

pursuant to Title 18, United States Code, Section 924(d)(l).
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